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                                                      Exhibit 23
                         Designations of Deposition Testimony of Anna Mackin (July 11, 2022)


             Plaintiffs’ Affirmative Designations                          Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’      Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                              Objections
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       7:16                     7:18
       9:24                    14:24
       15:9                    21:17
       23:11                    24:1
       24:9                    27:15
       29:11                   29:20
       31:14                   31:22
       32:1                     32:8
       32:13                   32:22
       33:4                    33:10
       37:17                   37:21
       40:20                   40:24
       43:10                   43:19
       46:5                     47:8
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      102:15                  103:14
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             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
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      197:24                   198:8
      207:13                  208:12
       209:1                   209:6
      211:10                   212:9
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      241:15                   242:9
      242:18                  242:22
       249:4                  249:13
      249:20                   250:1
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